Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 1 of 7 PAGEID #: 537
Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 2 of 7 PAGEID #: 538
Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 3 of 7 PAGEID #: 539
Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 4 of 7 PAGEID #: 540
Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 5 of 7 PAGEID #: 541
Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 6 of 7 PAGEID #: 542
Case: 3:16-cr-00073-TMR Doc #: 124 Filed: 10/04/17 Page: 7 of 7 PAGEID #: 543
